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8                           UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
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11   DANIEL KIM, individually, and on ) Case No. 2:17-cv-09247-FMO-E
     behalf of all others similarly situated, )
12                                            ) ORDER GRANTING STIPULATION [46]
                   Plaintiff,                 ) TO STAY ACTION PENDING
13                                            ) MEDIATION
            v.                                )
14                                            ) Complaint Filed: November 27, 2017
     SHERATON OPERATING                       )
15   CORPORATION, and DOES 1 to 50, ) FAC Filed:                 January 26, 2018
     inclusive,                               )
16                                            ) SAC Filed:       July 9, 2018
                   Defendants.                )
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               ORDER GRANTING STIPULATION TO STAY ACTION PENDING MEDIATION
     47628103v.1
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1             The Court, having reviewed the Parties’ Stipulation to Stay Action Pending
2    Mediation, and for good cause appearing, orders as follows:
3             (1)   The Court shall stay all proceedings in this matter pending until September
4    8, 2018;
5             (2)   Defendant’s response to the SAC, and all other deadlines, shall be deferred
6    as set forth in the concurrently filed Joint Stipulation pending the Parties’ Mediation on
7    September 7, 2018, with the Parties to update the Court on status by September 13, 2018;
8             (3)   The following deadlines shall be extended as follows: discovery deadline
9    shall be extended by two (2) months from September 28, 2018 to November 28, 2018,
10   Expert discovery from December 17, 2018 to February 17, 2019, Expert Witness
11   Disclosures from October 15, 2018 to December 15, 2018, Rebuttal Expert Witness
12   Disclosures from November 15, 2018 to January 15, 2019, the Motion for Class
13   Certification deadline from January 18, 2019 to March 18, 2019, and the Motion for
14   Summary Judgment deadline from February 15, 2019 to April 15, 2019.
15            IT IS SO ORDERED.
16
17   Dated: July 19, 2018                           By:                /s/
                                                          Honorable Fernando M. Olguin
18                                                        United States District Judge
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               ORDER GRANTING STIPULATION TO STAY ACTION PENDING MEDIATION
     47628103v.1
